               Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 1 of 9




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6
                               UNITED STATES DISTRICT COURT
7                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8 WHISPERING BROOK CONDOMINIUM
   ASSOCIATION, a Washington Non-Profit
 9                                                          NO.
   Corporation,
10
                           Plaintiff,                       COMPLAINT FOR DECLARATORY
11 v.                                                       RELIEF, BREACH OF CONTRACT, BAD
                                                            FAITH, CONSUMER PROTECTION ACT
12 PHILADELPHIA INDEMNITY INSURANCE                         VIOLATIONS, INSURANCE FAIR
                                                            CONDUCT ACT VIOLATIONS, AND
13 COMPANY, a Pennsylvania Corporation; and                 DAMAGES
   DOE INSURANCE COMPANIES 1-10,
14
                           Defendants.                      JURY DEMAND
15

16
            The Whispering Brook Condominium Association (the “Association”) alleges as follows:
17
                                          I.      INTRODUCTION
18
     1.1    This is an action for declaratory judgment (including money damages), breach of contract,
19
     bad faith, Consumer Protection Act (“CPA”) violations, Insurance Fair Conduct Act (“IFCA”)
20
     violations, and money damages seeking:
21
            (A)     A declaration of the rights, duties and liabilities of the parties with respect to certain
22
     controverted issues under Philadelphia Indemnity Insurance Company’s (“Philadelphia”) policies
23
     issued to the Association. The Association is seeking a ruling that each of Philadelphia’s policies
24
     provide coverage for hidden damage at the Whispering Brook Condominium complex and that
25

26

27    COMPLAINT FOR DECLARATORY RELIEF,                              STEIN, SUDWEEKS & STEIN, PLLC
                                                                          2701 First Ave., Suite 430
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      ACT VIOLATIONS, AND DAMAGES - 1
              Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 2 of 9




 1 Philadelphia is liable for money damages for the cost of repairing hidden damage at the

 2 Whispering Brook Condominium complex.

 3         (B)     Attorneys’ fees (including expert witness fees) and costs.

 4         (C)     Money damages for the cost of repairing covered damage, bad faith, breach of

 5         contract, and violations of both the CPA and the IFCA.

 6         (D)    Any other relief the Court deems just and equitable.

 7                        II.     PARTIES AND INSURANCE CONTRACTS

 8 2.1     The Association. The Association is a nonprofit corporation organized under the laws of the

 9 state of Washington with its principal place of business located in Des Moines, Washington. The

10 Association has the duty to maintain the common elements and any limited common elements of

11 the Whispering Brooks Condominium complex located at 23401, 23405, 23407, 23417, 23421,

12 and 23453 16th Ave S, Des Moines, Washington 98198. The Association consists of four (4)

13 buildings comprising 60 residential units and separate single-story structure.

14 2.2     Philadelphia. Philadelphia Indemnity Insurance Company (“Philadelphia”) is domiciled in

15 Pennsylvania with its principal place of business in Bala Cynwyd, Pennsylvania. Philadelphia

16 issued insurance policies to the Association including but not limited to Policy Nos. PHPK702889

17 (in effect from at least March 24, 2011 to March 24 2012) and PHPK843562 (in effect from March

18 24, 2012 – March 24, 2013). The Association is seeking coverage against all Philadelphia policies

19 issued to the Association.

20 2.3 Doe Insurance Companies 1–10. Doe Insurance Companies 1–10 are currently unidentified

21 entities who, on information and belief, sold insurance policies to the Association that identify the

22 Whispering Brook Condominium complex as covered property.

23 2.4     Whispering Brook Insurers. Philadelphia and Doe Insurance Companies 1–10 shall be

24 collectively referred to as the “Whispering Brook Insurers.”

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     ACT VIOLATIONS, AND DAMAGES - 2
               Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 3 of 9




 1 2.5      Whispering Brook Policies. The policies issued to the Association by the Whispering

 2 Brook Insurers shall be collectively referred to as the “Whispering Brook Policies.”

 3                                    III.    JURISDICTION AND VENUE

 4 3.1      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332

 5 (diversity jurisdiction) as the parties are completely diverse in citizenship and the amount in

 6 controversy exceeds $75,000.

 7 3.2      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) as the Whispering Brook

 8 Insurers marketed and sold insurance to the Association in King County; a substantial part of the

 9 events giving rise to the claim, including the breach of contract, occurred in King County; and the

10 insured condominium building is located in King County.

11                                           IV.    FACTS
     4.1    Incorporation by Reference. The Association re-alleges the allegations of paragraphs 1.1
12

13 through 3.2, above, as if fully set forth herein.

14 4.2      Tender to Whispering Brook Insurers. On May 3, 2019, the Association tendered its claim

15 to Philadelphia for hidden recently discovered at the Whispering Brook Condominium complex.

16
     4.4    Joint Intrusive Investigation. The Association hired an investigative firm, Evolution
17
     Architects (“Evolution”), to investigate the extent of damage at the Whispering Brook
18
     Condominium complex. Subsequent to the claims tender, Evolution in conjunction with
19
     Philadelphia’s consultants performed a Joint Intrusive Investigation at the Whispering Brook
20

21 Condominium complex. This investigation revealed extensive hidden damage to exterior sheathing

22 and framing throughout the property attributable to long term, incremental and progressive water

23 damage. According to the Association’s experts, the cost to repair the hidden damage at the

24
     Whispering Brook Condominium complex exceeds the jurisdictional limit of $75,000.
25

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      VIOLATIONS, INSURANCE FAIR CONDUCT
      ACT VIOLATIONS, AND DAMAGES - 3
               Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 4 of 9




     4.5    Philadelphia’s Denial of the Association’s Claim. On August 20, 2020 Philadelphia sent
 1

 2 the Association a letter stating it was denying coverage. On December 7, 2020, Philadelphia sent a

 3 letter reiterating its denial of coverage for the Association’s insurance claim.

 4 4.6      IFCA Letter to Philadelphia. In compliance with the IFCA, the Association provided
 5
     written notice to Philadelphia and the Washington State Office of the Insurance Commissioner that
 6
     explained why Philadelphia’s coverage denial was unreasonable. Philadelphia refused to cure its
 7
     unreasonable denial of coverage.
 8

 9        V.   FIRST CLAIM AGAINST THE WHISPERING BROOK INSURERS:
       DECLARATORY RELIEF THAT THE WHISPERING BROOK POLICIES PROVIDE
10                               COVERAGE
11 5.1      Incorporation by Reference. The Association re-alleges and incorporates by reference the
12 allegations of paragraphs 1.1 through 4.6, above, as if fully set forth herein.

13 5.2      Declaratory Relief. The Association seeks declaratory relief from the Court in the form of
14 determinations regarding the following disputed issues:

15          (A)    The Whispering Brook Policies cover the hidden damage to exterior building
16 components including but not limited to exterior sheathing and framing at the Whispering Brook

17 Condominium complex.

18          (B)     No exclusions, conditions, or limitations bar coverage under the Whispering Brook
19 Policies.

20          (C)    The loss or damage to Whispering Brook Condominium complex was incremental
21 and progressive. New damage commenced during each year of the Whispering Brook Policies.

22          (D)     As a result, the Whispering Brook Policies cover the cost of investigating and
23 repairing the hidden damage to exterior building components including but not limited to exterior

24 sheathing and framing at the Whispering Brook Condominium complex.

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      VIOLATIONS, INSURANCE FAIR CONDUCT
      ACT VIOLATIONS, AND DAMAGES - 4
                    Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 5 of 9




      VI.          SECOND CLAIM: AGAINST PHILADELPHIA FOR BREACH OF CONTRACT
1
     6.1      Incorporation. The Association re-alleges and incorporates by reference the allegations of
2
     paragraphs 1.1 through 5.2, above, as if fully set forth herein.
3
     6.2      Philadelphia has contractual duties under the terms of its policy and/or policies to pay the
4
     cost of investigating and repairing the covered damage to the Whispering Brook Condominium
5
     complex.
6
     6.3          Philadelphia breached its contractual duties by wrongfully denying coverage on in August
7
     20, 2020 and reiterating its denial of coverage on December 7, 2020, Philadelphia breached its
8
     contractual duties by failing to pay the cost of repairing the covered damage to the Whispering
9
     Brook Condominium complex.
10
     6.4          As a direct and proximate result of Philadelphia’s breach of its contractual duties the
11
     Association has been damaged in an amount to be proven at trial.
12
     6.5      Additional Damages. As a direct and proximate result of Philadelphia’s breach of its
13
     contractual duties, the Association has been forced to incur attorneys’ fees, expert costs,
14
     investigation costs and other expenses in order to prosecute this action, the sole purpose of which
15
     is to obtain the benefits of the Association’s insurance contracts.
16
           VII.     THIRD CLAIM: AGAINST PHILADELPHIA FOR INSURANCE BAD FAITH
17
     7.1      Incorporation by Reference. The Association re-alleges and incorporates by reference the
18
     allegations of paragraphs 1.1 through 6.5, above, as if fully set forth herein.
19
     7.2      The business of insurance is one affected by the public interest, requiring that all persons be
20
     actuated by good faith, abstain from deception, and practice honesty and equity in all insurance
21
     matters. RCW 48.01.030. An insurer has a duty to act in good faith. This duty requires an insurer
22
     to deal fairly with its insured. The insurer must give equal consideration to its insured’s interest
23
     and its own interest and must not engage in any action that demonstrates a greater concern for its
24
     own financial interest than its insured’s financial risk. An insurer who does not deal fairly with its
25
     insurer, or who does not give equal consideration to its insured’s interest, fails to act in good faith.
26

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      ACT VIOLATIONS, AND DAMAGES - 5
               Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 6 of 9




 1 7.3       The duty of good faith requires an insurer to conduct a reasonable investigation before

 2 refusing to pay a claim submitted by its insured. An insurer must also have a reasonable

 3 justification before refusing to pay a claim. An insurer who refuses to pay a claim, without

 4 conducting a reasonable investigation or without having a reasonable justification, fails to act in

 5 good faith.

 6 7.4       Philadelphia had a duty to investigate, evaluate, and decide the Association’s claim in good

 7 faith. Philadelphia breached its duty by unreasonably investigating, evaluating, and/or denying the

 8 claim by, among other things: (1) failing to acknowledge that weather conditions such as rain or

 9 wind-driven rain were one of the causes of the hidden damage at the Whispering Brook

10 Condominium complex; (2) failing to acknowledge that weather conditions such as rain and wind-

11 driven rain are covered causes of loss under its policy(s); (3) failing to acknowledge that there is

12 coverage under its policy(s) when damage results from a concurrent combination of rain and bad

13 construction or wear and tear; and (4) failing to define terms in the Philadelphia policy pursuant to

14 the plain meaning of the terms. In addition, Philadelphia unreasonably delayed in coming to a

15 coverage determination.

16 7.5       A violation, if any, of one or more of the Washington claim handling standards set forth

17 below is a breach of the duty of good faith, an unfair method of competition, an unfair or deceptive

18 act or practice in the business of insurance, and a breach of the insurance contract. Philadelphia’s

19 conduct violated Washington claim handling standards:

20       •   Which require it to fully disclose all pertinent coverages.

21       •   Which prohibit misrepresentations regarding relevant facts (e.g. the cause of damages) or

22           coverage.

23       •   Which prohibit the practice of refusing to pay claims without conducting a reasonable

24           investigation.

25

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     ACT VIOLATIONS, AND DAMAGES - 6
                 Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 7 of 9




 1         •   Which require Philadelphia to provide a reasonable explanation of the relevant facts, law,

 2             and policy language and how its policy language supported a denial of the Association’s

 3             claim.

 4         •   Which require Philadelphia to adopt and implement reasonable standards for the prompt

 5             investigation of claims.

 6 7.6         Philadelphia’s actions and omissions, including but not limited to its denial of coverage,

 7 were unreasonable, unfounded, and frivolous under the circumstances and constitute a breach of

 8 Philadelphia’s duty of good faith. As a direct and proximate result of the breaches, the Association

 9 has been damaged in an amount to be proven at trial.

10         VIII. FOURTH CLAIM: AGAINST PHILADELPHIA FOR VIOLATIONS OF THE
                                CONSUMER PROTECTION ACT
11
     8.1       Incorporation by Reference. The Association re-alleges and incorporates by reference the
12
     allegations of paragraphs 1.1 through 7.6, above, as if fully set forth herein.
13
     8.2       Violations of claims handling standards provided under the WAC are per se CPA violations.
14
     On information and belief, the conduct of Philadelphia was deceptive, impacted the public, and had
15
     the capacity to deceive. The Association is a consumer. As a direct and proximate result of
16
     Philadelphia’s violations, the Association has been damaged in an amount to be proven at trial. The
17
     Association is entitled to damages, CPA penalties of up to $25,000.00 per violation, and attorneys’
18
     fees under the CPA.
19
           IX.      FIFTH CLAIM: AGAINST PHILADELPHIA FOR VIOLATIONS OF THE
20                                INSURANCE FAIR CONDUCT ACT
21 9.1         Incorporation by Reference. The Association re-alleges and incorporates by reference

22 Paragraphs 1.1 through 8.2, above, as if fully set forth herein.

23 9.2         The Association is a first party claimant asserting a right to payment as a covered person

24 under an insurance policy or insurance contract arising out of the occurrence of a contingency or

25 loss covered by such a policy. Philadelphia’s denial of the Association’s claim was unreasonable.

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      ACT VIOLATIONS, AND DAMAGES - 7
              Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 8 of 9




 1 The Association provided written pursuant to RCW 48.30.015(8) to Philadelphia and the Insurance

 2 Commissioner’s Office of its IFCA cause of action and explained in detail why Philadelphia’s

 3 coverage denial was unreasonable. Philadelphia failed to resolve the basis for the Association’s

 4 IFCA claim within twenty (20) days of the Association’s notice.

 5 9.3     The Association has been injured by Philadelphia’s failure to change its unreasonable

 6 denial of coverage. The Association is entitled to attorneys’ fees and a discretionary award of

 7 enhanced damages that “increases the total award of damages to an amount not to exceed three

 8 times the actual damage.”

 9                                     X.    PRAYER FOR RELIEF

10         WHEREFORE, the Association prays for judgment as follows:

11 10.1    Declaratory Judgment Regarding Coverage. A declaratory judgment that the Whispering

12 Brook Policies provide coverage as described herein.

13 10.2    Money Damages. For money damages against each of the Whispering Brook Insurers for

14 the cost of investigating and repairing hidden damage at the Whispering Brook Condominium

15 complex in an amount to be proven at trial, as well as money damages against Philadelphia for

16 breach of the duty of good faith in an amount to be proven at trial.

17 10.3    Attorneys’ Fees and Costs of Suit. For reasonable attorneys’ fees (including expert fees).

18 See Olympic Steamship Co. v. Centennial Ins. Co., 117 Wn.2d 37, 811 P.2d 673 (1991), and RCW

19 48.30.015.

20 10.4    CPA Penalties. For CPA penalties against Philadelphia of up to $25,000 per violation.

21 10.5    Enhanced IFCA Damages. For a discretionary award of enhanced IFCA damages against

22         Philadelphia that “increase the total award of damages to an amount not to exceed three

23         times the actual damage.”

24 10.6     Other Relief. For such other and further relief as the Court deems just and equitable.

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     ACT VIOLATIONS, AND DAMAGES - 8
              Case 2:21-cv-00914-SKV Document 1 Filed 07/08/21 Page 9 of 9




1                                 XI.     DEMAND FOR JURY TRIAL

2 11.1     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Association demands trial

3 by jury in this action of all issues so triable.

4          Dated the 8th day of July, 2021.

5                                          STEIN, SUDWEEKS & STEIN, PLLC
6
                                           /s/ Daniel J. Stein
7                                          /s/ Justin D. Sudweeks
                                           /s/ Jerry H. Stein
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